                   3:14-cr-30031-SEM-TSH # 4              Page 1 of 2
                                                                                                                       E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                   Monday, 29 September, 2014 11:45:03 AM
                                                                                       Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Central District
                                             __________          of__________
                                                        District of Illinois

                              USA                              )
                             Plaintiff                         )
                                v.                             )      Case No.     3:14-cr-30031-SEM-TSH
                    THOMAS GIBBONS                             )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          THOMAS GIBBON                                                                                                   .


Date:          09/29/2014                                                                 /s/ L. Lee Smith
                                                                                         Attorney’s signature


                                                                                      L. Lee Smith # 3122521
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         3:14-cr-30031-SEM-TSH # 4          Page 2 of 2
                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS



                    USA                         )
                   Plaintiff                    )
                      v.                        )     Case No. 3:14-cr-30031-SEM-TSH
             THOMAS GIBBONS                     )
                  Defendant                     )


                                    CERTIFICATE OF SERVICE

I certify that on _______________,
                   09/29/2014      I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

 scott.ferber2@usdoj.gov, scott.ferber@usdoj.gov
_____________________________________________________________________________,

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

_____________________________________________________________________________.




                                                              /s/ L. Lee Smith
                                                            Attorney’s signature

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